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                       IN THE UNITED STATES DISTRICT COURT   _DOC NO
                     FOR THE WESTERN DISTRICT OF WISCONSIN
                                                       2C2I JAN 22 Am II. 09
Jeremy M. Blank,                                        PETER     -
                                                      CLERK US Tr ,-"
             Plaintiff,

     V.                                          Case No. 20—cv-732—wmc

Joel Lindow, et al.,

             Defendants.


                 AMENDED COMPLAINT FOR CIVIL RIGHTS VIOLATIONS


     Plaintiff Jeremy M. Blank, proceeding prose; complains against the

Defendants Joel Lindow, "John" Gebhart, Darren Hutchenreuter, Monique

Steiner, Carol Isbell, and Mitchell Kunhart as follows:

                               Nature of the Case

             This case is an action for declaratory, compensatory and

punitive damages with a demand for a jury trial on the allegations that

the Defendant's violated Plaintiff's rights under the 8th Amendment of the

United States Constitution.

                             Jurisdiction and Venue

             Jurisdiction is proper in federal court pursuant to 28 U.S.C.

§1331 because this action arises under 42 U.S.C. §1983 and the United

States Constitution.

             Venue is proper in this District pursuant to 28 U.S.C. §1391

because the events alleged below occurred in the Western District of

Wisconsin.

          Declaratory relief is authorized under 28 U.S.C. §2201.




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                                The Plaintiff

            The Plaintiff Jeremy M. Blank is a 38 year old inmate in the

care, custody, and control of the Wisconsin Department of Corrections.

During all times relevant to this suit, Plaintiff was incarcerated at the

Jackson Correctional Institution ("JCI"), which is located at N6500 Haipek

Road, Black River Falls, located in Jackson County, Wisconsin.

                                The Defendants

            The Defendant Joel Lindow was a sergeant working for the

Wisconsin Department of Corrections ("WI DOC") at the JCI at all times

relevant to this suit.

            The Defendant "John" Gebhart was a Correctional Officer ("CO")

working for the WI DOC at the JCI at all times relevant to this suit.

            The Defendant Darren Hutchenreuter was a CO working at the JCI

at all times relevant to this suit.

            Defendant Monique Steiner was a social worker working for the WI

DOC at the JCI at all times relevant to this suit.

            The Defendant Carol Isbell was a CO working for -the WI DOC at

the JCI at all times relevant to this suit.

            The Defendant Mitchell Kunhart was a sergeant working for the WI

DOC at the JCI at all times relevant to this suit.

                               The Relevant Law

            The Eighth Amendment, which prohibits "punishment" that is

"cruel and unusual," imposes a duty upon prison officials to provide

"humane conditions of confinement" by ensuring that inmates receive

adequate food, clothing, shelter, and medical care. Farmer v. Brennan,

511 U.S. 825, 832 (1994). Prison officials also must ensure that

"reasonable measures" are taken to guarantee inmate safety and prevent

harm. Id.



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          To prevail under the Eighth Amendment based on a failure to

prevent harm, an inmate must demonstrate that (1) the harm that befell the

prisoner was objectively, sufficiently serious and a substantial risk to

his health or safety; and (2) the individual defendants were deliberately

indifferent to that risk. Id.

          Suicide, attempted suicide and other acts of self—harm clearly

pose a "serious" risk to an inmate's health and safety. See Collins v.

Seemen, 462 F.3d 757, 760 (7th Cir. 2006)(quoting Sanville v. McCaughtry,

266 F.3d 724, 733 (7th Cir. 2001)); see also Rice ex rel. Rice v.

Correctional Medical Servs., 675 F.3d 650, 665 (7th Cir. 2012)("IPIrison

officials have an obligation to intervene when they know a prisoner

suffers from self—destructive tendencies.").

          When the harm at issue is a suicide or attempted suicide,

deliberate indifference requires "a dual showing that the defendant: (1)

subjectively knew the prisoner was at substantial risk of committing

suicide and (2) intentionally disregarded that risk." Collins, 462 F.3d at

761 (citing Matos ex rel. Matos V. O'Sullivan, 335 F.3d 553, 557 (7th Cir.

2003)).

                            Statment of Facts

          On July 8, 2020, Plaintiff was woken up by Defendant Lindow at

approximately 8:30 am for having his cell window covered with a blanket.

          Following a brief discussion,tDefendant Lindow instructed the

Plaintiff to "remove the blanket" or risk getting a "conduct report" — a

disciplinary infraction report that generally results in a loss of

privelages. Plaintiff complied with the instruction, and removed the

blanket from the window.

          Shortly thereafter, Defendant Lindow returned to Plaintiff's



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cell and instructed him to accompany him to the staff "desk" — an area

where the security staff congregate — so he can "serve" him a "conduct

report" for having his window convered.

          At this point, Plaintiff's behavior was — and continued to be

for the rest of the day — aggressive, confrontational, and self—

destructive. Plaintiff continuously remarked, "I don't give a shit about

nothin" in his numerous interactions with Defendant Lindow.

          AS punishment for covering his window, Plaintiff received seven

(7) days loss of cell. "Loss of cell" means that an inmate is not

permitted to be in his cell between the hours of count clearing (approx.

7:50 am) until 9:00 pm.

          During this time, JCI mandated that all inmates were required

to wear a face mask when outside of their cell and inside buildings, and

while outside when not able to maintain at least six (6) feet apart from

another person.

          Plaintiff suffers from asthma and relies on a rescue inhaler

prescribed for usage of "two puffs" up to "four times a day as needed."

          Being forced to constantly wear a cloth mask over his mouth and

nose caused Plaintiff to use his rescue inhaler approximately eight (8)

puffs prior to 11:00 am, resulting in him asking Defendant Isbell to phone

JCI Health Services Unit ("HSU") with a request to be seen immediately.

          Shortly after said request, Defendant Lindow responded and

stated, "HSU wasn't concerned" and that Plaintiff "should just keep using

the tools at [his] disposal; i.e., [his] inhaler."

          Plaintiff became very distraught upon hearing this information

and slammed his inhaler on the staff desk and declared, "If HSU isn't

concerned, neither am I. I don't want the inhaler." While this entire

interaction was taking place (Defendant Lindow relaying HSU's response)



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all of the Defendant's except Kunhart were at the staff desk and listening

intently to the "back-and-forth" transpiring between Defendant Lindow and

the Plaintiff.

            After a brief exchange about not being allowed to leave the

inhaler on the staff desk by Defendant's Lindow and Gebhart, Plaintiff

took it back stating, "I'll just turn it in to HSU when I go up and

refuse my meds at 5:30 tonight."

            Defendant Lindow replied that he "didn't care" what Plaintiff

did with his inhaler.

            The Plaintiff then responded, stating "I don't give a shit about

nothin. I'll just kill myself, I don't give a shit." Defendant Lindow

then replied, "Will you go ahead and sign a 'DNR' so I don't have to bring

your ass back?"

            During this interaction, and after the DNR comment by Defendant

Lindow, none of the other Defendant's intervened in any shape, fashion, or

form, though they were all clearly listening to every word said. Plaintiff

responded to Defendant Lindow's DNR comment by saying something to the

effect of "I love life too much to want to die" in a very sarcastic tone

of voice.

            Defendant Gebhart chimed in next, stating that "I have a DNR on

file." Plaintiff interpreted this to be an attempt to persuade him to sign

on per Lindow's request.

            Plaintiff responded to Defendant Gebhart's comment, stating

"Aren't you a fucking tough guy." At this point, Plaintiff left the staff

desk.

            Shortly after 12:10 pm count was cleared over the all-call

Plaintiff asked Defendant Isbell to phone JCI Psychological Se-vices Unit

("PSU") staff, saying "Call PSU NOW!!" This direct request is consistent



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with JCI policy to report a mental health crisis to the nearest staff.

          Defendant Isbell informed Plaintiff that PSU said Unit Staff

should "monitor" him, and that if "he needed anything further to submit a

S lip."

          On July 9, 2020 at approximately 1:50 am, Plaintiff attempted

suicide by using a razor blade (from a disposable razor for shaving) taped

to a pen to cut the inside of his elbow approximately 5-7 slices until he

sliced what he believed to be his vein, and blood started to gush out.

          Upon seeing the copious amounts of blood, Plaintiff decided that

he didn't want to die alone in a prison bathroom and made his suicide

attempt known to staff by exiting the bathroom and announcing his actions

and need for medical attention.

          JCI staff on-duty took life-saving actions by squeezing

Plaintiff's left arm/bicep while awaiting the arrival of the ambulance.

          Plaintiff was transported to Black River Falls Memorial Hospital

where he received five (5) stitches to close his wound.

                                  Count I

          Plaintiff re-alleges and reincorporates, as though fully set

forth herein, each and every allegation above.

          Defendant Lindow acted with deliberate indifference on July 8,

2020, in failing to take reasonable measures to prevent the Plaintiff from

engaging in a suicide attempt following his threat to commit suicide and

requesting that he (Plaintiff) "sign a 'DNB' so [he] wouldn't have to

bring (his] ass back," and not notifying PSU of the suicide threat.

                                  Count II

          Plaintiff re-alleges and reincorporates, as though fully set

forth herein, each and every allegation above.




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          Defendant's Gebhart, Hutchenreuter, Steiner and Isbell acted

with deliberate indifference on July 8, 2020, in failing to take

reasonable measures to prevent the Plaintiff from engaging in a suicide

attempt having heard his threat to commit suicide and not notifying PSU

of the suicide threat.

                          Statement of Facts (cont.)

          During second shift (2:30 pm — 10:30 pm) CO Walker observed that

Plaintiff was acting out of sorts (speaking "more slowly than usual," had

a "serious like demeanor that was unlike his normal lively sarcastic

self."). CO Walker was so concerned about Plaintiff and his

uncharacteristic behavior and comments (sick of being "bullied" and

refusing PSU slips because "that doesn't work and it's too.late.") that

she informed Defendant Kunhart of the events and recommended Plaintiff be

placed on clinical observation.

          Defendant Kunhart responded, stating that Plaintiff was merely

seeking attention and that, at any rate, "it was his Friday and is not ;-

going to deal with it."

                                  Count Ill

          Plaintiff re—alleges and reincorporates, as though fully set

forth herein, each and every allegation above.

          Defendant Kunhart acted with deliberate indifference on July 8,

2020; in failing to take reasonable measures to prevent the Plaintiff from

engaging in a suicide attempt following CO Walker raising her concerns and

recommendation that Plaintiff be placed on clinical observation status.




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                             Prayer for Relief

   46.    WHEREFORE, Plaintiff prays for relief as follows:

               That he receive a jury trial on all issues so triable;

               That he receive a declaration that his Eighth Amendment

               right to be free from cruel and unusual punishment was

               violated;

               That he receive an award of compensatory damages against

               the defendant's in an amount to be determined according to

               the proof presented at trial;

               That he receive an award of exemplary or punitive damages

               against the defendant's collectively in the amount of

               $4,000,000.00 to punish them for their wrongful acts, and

               to deter others from committing the constitutional

               violations described herein;

               That he be awarded costs and expenses in an amount to be

               determined; and

               That he be awarded such other and further relief as this

               Honorable Court may deem just and proper.

                 °Complaint Certification and Conclusion

   47.    I, Jeremy M. Blank, re—allege and reincorporates, as though

fully set forth herein, each and every allegation above and hereby swear

on the penalty of perjury that the facts stated are true and correct, and

based upon personal knowledge, in accordance with 28 U.S.C. §1746.

     Executed this jey   day of January, 2021.



                                                 t)hIngy /0 ESAIA11(
                                                 Jeremy M. Blank

                                                 #341893
                                                 JCI



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                                       N5500 Haipek Rd, P.O. Box 233
                                       Black River Falls, WI 54615

                                       Pro se Plaintiff




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